            Case 2:17-cr-00133-TOR           ECF No. 50      filed 09/28/17        PageID.96 Page 1 of 1
PS 8                                                                                                        September 27, 2017
(3/15)


                               UNITED STATES DISTRICT COURT
                                                            for
                                           Eastern District of Washington

 U.S.A. vs.                  Heath, Eldred Burnett                        Docket No.        0980 2:17CR00133-TOR-1

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Eldred Burnett Heath, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 3rd day of August 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #7: The defendant admitted to using methamphetamine and marijuana on or about September 20, 2017.

         PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                              PREVIOUSLY REPORTED TO THE COURT
                                                                           I declare under the penalty of perjury that the
                                                                           foregoing is true and correct.
                                                                           Executed on:      September 27, 2017
                                                                  by       s/Erik Carlson
                                                                           Erik Carlson
                                                                           U.S. Pretrial Services Officer

 THE COURT ORDERS

 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [ X]      The incorporation of the violation(s) contained in this
           petition with the other violations pending before the Court.
 [ ]       Defendant to appear before the Judge assigned to the case.
 [ ]       Defendant to appear before the Magistrate Judge.
 [ ]       Other
                                                                            Signature of Judicial Officer

                                                                               September 28, 2017
                                                                            Date
